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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.:

  THOMAS THOMAS,

                  Plaintiff,
  vs.


  BANK OF AMERICA, N.A.

               Defendant.
  _________________________/

                                            COMPLAINT

             COMES NOW, the Plaintiff, THOMAS THOMAS, by and through undersigned

  counsel, and brings this action against the Defendant, BANK OF AMERICA, N.A. (“BANA”)

  and as grounds thereof would allege as follows:

                                          INTRODUCTION

        1.        This is an action brought by a consumer for Defendant's violation of the Truth In

  Lending Act, 15 U.S.C. §§ 1601, et seq. ("TILA"), the Real Estate Settlement Procedures Act, 12

  U.S.C §§ 2601, et seq. (“RESPA”), and Florida Statutes §§ 559.55-559.785, known more

  commonly as the “Florida Consumer Collection Practices Act” (“FCCPA”).

        2.        The FCCPA prevents persons from engaging in abusive, deceptive, and unfair

  collection practices.

                                           JURISDICTION

        3.        Jurisdiction of this Court arises under 28 U.S.C. § 1331 because the Complaint

  alleges a federal claim and requires the resolution of substantial questions of federal law.

        4.        Moreover, this case is a civil action arising under the laws of the United States
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  over which this Court has original jurisdiction under 28 U.S.C. § 1331.

       5.        Under 28 U.S.C. § 1367(a), this court has supplemental jurisdiction over

  Plaintiff's state law FCCPA claim in that it is so related to the federal claims that they form part

  of the same case or controversy under Article III of the United States Constitution.

       6.        Venue in this District is proper because Plaintiff resides in Broward County,

  Florida, and this is the District where a “substantial part of the events or omissions giving rise to

  the claim occurred.” 28 U.S.C. § 1391(b)(2).

                                              PARTIES

       7.        At all times material hereto, Defendant, BANA was and is a banking institution

  chartered and supervised by the Office of the Comptroller of the Currency ("OCC"), an agency

  in the U.S. Treasury Department, pursuant to the National Bank Act, duly licensed to transact

  business in the State of Florida, and has a principal address of 100 N. Tryon St., Suite 170,

  Charlotte, NC 28202.

       8.        At all times material hereto, Defendant, BANA was and is a creditor as the term is

  defined in 15 U.S.C. §1602(g).

       9.        At all times material hereto, Plaintiff was and is a resident of Broward County,

  Florida, and owns a home, which is Plaintiff's primary residence, in Broward County.

       10.       At all times material hereto, BANA, is and was a loan servicer as the term is

  defined in 12 U.S.C. § 2605(i)(2) and 12 C.F.R. § 1024.2(b), that services the loan obligation

  owned by BANA and secured by a mortgage upon Plaintiff’s primary residence and principal

  dwelling, located at **** NE 16th Place, Fort Lauderdale, Florida 33305.

       11.       At all times relevant to this Complaint, BANA, was and is a “person” as said term

  is defined under Florida Statute §1.01(3), and is subject to the provisions of Fla. Stat. § 559.72




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  because said section applies to “any person” who collects or attempts to collect a consumer debt

  as defined in Fla. Stat. § 559.55(1).

       12.         At all times relevant to this Complaint, Plaintiff, was and is a natural person, and

  is a “consumer” as that term is defined by Florida Statutes §559.55(2), and/or a person with

  standing to bring a claim under the FCCPA by virtue of being directly affected by violations of

  the Act.

       13.         At all times material hereto, the debt in question was a “debt” as said term is

  defined under Florida Statute §559.55(1).

                        BACKGROUND AND GENERAL ALLEGATIONS

       14.         On or about May 14, 2014, Plaintiff entered into a “CreditLine Agreement”,

  commonly referred to as a Home Equity Line of Credit, with BANA in the amount of $50,000.00

  (the “HELOC”).

       15.         The HELOC was secured by a mortgage on Plaintiff's residence located at ** NE

  16th Place, Fort Lauderdale, Florida 33305 (the “Mortgage”).

       16.         Plaintiff’s residence is a residential structure containing one to four family

  housing units.

       17.         The HELOC signed by Plaintiff in connection with the Mortgage serviced by

  BANA is a consumer credit transaction within the meaning of, and subject to, TILA.

       18.         The mortgage loan in question is a “federally related mortgage loan” as defined in

  12 U.S.C. § 2602(1) and 12 C.F.R. § 1024.2(b).

       19.         On May 17, 2013, Mr. Thomas went to BANA’s local branch at 150 N.W. 44th

  Street, Oakland Park, Florida 33309 and met with Valerie Sajous, the Assistant Manager.

       20.         Mr. Thomas informed Ms. Sajous that he wanted to pay off the HELOC, and was




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  informed that he had a balance of $32,633.76.

           21.   Mr. Thomas was assured that the HELOC was closed.

           22.   Mr. Thomas presented a check for $32,633.76 and asked for a letter showing that

  the account had been closed.

           23.   Ms. Sajous told Mr. Thomas that he would have to come back the next day for the

  letter which would have to be generated and faxed over from a different department.

           24.   Mr. Thomas then returned to the branch and received a letter dated May 17, 2013,

  which informed Mr. Thomas that “the line of credit account was blocked form future advances.

  There is no available credit for your use.”

           25.   Mr. Thomas was assured that his account was indeed closed and that was the end

  of it.

           26.   Sometime thereafter in 2014, Plaintiff became aware that there was an

  outstanding balance on the HELOC for force-placed flood insurance related costs that allegedly

  accrued after May 17, 2013.

           27.   Plaintiff became concerned that BANA had reopened his HELOC account

  without his consent.

           28.   As such, on or about September 3, 2014, Loan Lawyers—on behalf of Plaintiff—

  mailed to BANA a written request for information pursuant to TILA, Regulation X, and

  Regulation Z (“Plaintiff's RFI”). BANA received Plaintiff's RFI on or about September 8, 2014.

           29.   A true and correct copy of same is attached as Exhibit “A”.

           30.   Plaintiff's RFI asked BANA to: (1) provide an accurate statement of the total

  outstanding balance that would be required to satisfy the above-referenced obligation in full as of

  a specified date (“payoff statement”) and (2) provide responses to nine specific informational




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  requests.

       31.         Additionally, Plaintiff’s RFI asserted an “error”, informing BANA that it was an

  error for BANA to reopen the HELOC after it was paid off and closed. This notice of error was

  made pursuant to 12 C.F.R. § 1024.35.

       32.         BANA was obligated to provide an accurate payoff statement within seven (7)

  business days of receipt of Plaintiff's RFI, pursuant to 15 U.S.C. § 1639g and 12 C.F.R. §

  1026.36(c)(3).

       33.         Section 1639g of TILA, states: “A creditor or servicer of a home loan shall send

  an accurate payoff balance within a reasonable time, but in no case more than 7 business days,

  after the receipt of a written request for such balance from or on behalf of the borrower.”

        34.        Section 1026.36(c)(3) of Regulation Z, states:

                         [A] creditor, assignee or servicer, as applicable, must provide
                         an accurate statement of the total outstanding balance that
                         would be required to pay the consumer’s obligation in full as of
                         a specified date. The statement shall be sent within a
                         reasonable time, but in no case more than seven business days,
                         after receiving a written request from the consumer or any
                         person acting on behalf of the consumer.

  12 C.F.R. § 1026.36(c)(3)

       35.         BANA was obligated to acknowledge receipt of Plaintiff's RFI in writing within

  five (5) business days pursuant to 12 C.F.R. § 1024.36(c) and § 1024.35(d).

       36.         BANA was obligated to provide a written response to Plaintiff's information

  requests within thirty (30) business days, which included the requested information or stated that

  the “requested information is not available to the servicer” and the “basis for the servicer’s

  determination”. See 12 C.F.R. § 1024.36(d).

       37.         BANA was obligated to respond to Plaintiff’s notice of error within thirty (30)




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  business days, either by correcting the error or including a statement that no error occurred, a

  statement of reason for this determination, and a statement of Plaintiff’s right to request

  documents relied on in BANA’s reaching said determination. See 12 C.F.R. § 1024.35(e)(1).

          38.    On or around September 12, 2014, Plaintiff’s counsel received a payoff statement

  from BANA’s counsel.

          39.    A true and correct copy of same is attached hereto as Exhibit “B”.

          40.    The payoff statement stated that it was valid until September 20, 2014, and that

  the total amount owed on the HELOC was $2,675.74.

          41.    On November 17, 2014, BANA, through its counsel, provided a written response

  to Plaintiff’s RFI (the “Response”).

          42.    A true and correct copy of same is attached hereto as Exhibit “C”.

          43.    The Response stated that no error occurred on the account and that “Thomas paid

  $32,633.76 on May 17, 2013 and the balance was reduced to $0.” See Exhibit “C”.

          44.    BANA also objected to the request for information under 12 C.F.R. § 2014.36 as

  being untimely because it was “delivered more than one year after the loan balance was paid in

  full. See 12 C.F.R. § 1024.36(f)(v)(B). See Exhibit “C” (emphasis added).

          45.    However, there was no loan effective May 17, 2013, because the account was

  closed.

       46.       Further, Plaintiff received confirmation that the loan was closed on May 17,

  2013.

       47.       As such, after May 13, 2013, BANA had no right to cause to be charged any costs

  or fees to the HELOC because the account was closed.

       48.       Notwithstanding, BANA has caused to be charged force-placed flood insurance




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  on Plaintiff’s property and insists that Plaintiff pay this balance.

         49.      On or about October 14, 2014, Mr. Thomas received a monthly statement for his

  HELOC (the “Statement”). A true and correct copy of same is attached hereto as Exhibit “D”.

         50.      The Statement lists the “Previous Outstanding Variable Balance” as $50.00, and

  a “New Outstanding Variable Balance” as $3,466.01, with a total minimum payment of $50.00

  due on or before December 1, 2014.

                           COUNT I –VIOLATION OF 15 U.S.C. § 1639g

         51.      Plaintiff repeats, realleges, and incorporates by reference paragraphs 1 through

  50.

         52.      By virtue of BANA’s providing a payoff statement that includes a loan balance

  after the HELOC was paid in full and the account was closed, BANA has provided Plaintiff with

  an inaccurate payoff statement.

         53.      As such, BANA has failed or refused to provide an accurate payoff statement

  within seven (7) business days after receiving a request, contrary to 15 U.S.C. § 1639g and 12

  C.F.R. § 1026.36(c)(3).

         54.      Plaintiff has hired Loan Lawyers, LLC, for legal representation in this action and

  has agreed to pay a reasonable attorney's fee.

         55.      Plaintiff is entitled to the following damages for violations of TILA by Defendant,

  BANA: statutory damages of not less than $400 nor greater than $4000 pursuant to 15 U.S.C. §

  1640(a)(2)(A)(iv), and the costs of this action together with a reasonable attorney's fee as

  determined by the court, pursuant to 15 U.S.C. § 1640(a)(3).

                         COUNT II –VIOLATION OF 12 U.S.C. § 2605(k)

         56.      Plaintiff repeats, realleges and incorporates by reference paragraphs 1 through 50.




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       57.       Section 6, Subsection (k)(1)(A) of RESPA states:

                 (k) Servicer prohibitions
                 (1) In general
                 A servicer of a federally related mortgage shall not--
                 (A) obtain force-placed hazard insurance unless there is a reasonable basis
                 to believe the borrower has failed to comply with the loan contract’s
                 requirements to maintain property insurance

       58.       BANA has obtained force-placed insurance on Plaintiff’s property without a

  reasonable basis considering the HELOC account should have been closed on May 17, 2013.

       59.       As such, BANA has violated 12 U.S.C. § 2605(k)(1)(A).

       60.       Plaintiff has hired Loan Lawyers, LLC, for legal representation in this action and

  has agreed to pay a reasonable attorney's fee.

       61.       Plaintiff is entitled to actual damages as a result of Defendant, BANA’s failure to

  comply with Regulation X and RESPA, pursuant to 12 U.S.C. § 2605(f)(1)(A), including but not

  limited to: (1) photocopying costs and postage costs incurred in mailing Plaintiff’s RFI; and (2)

  photocopying costs, postage costs, and reasonable attorney’s fees incurred as a result of having

  to employ Loan Lawyers, LLC in this action. See Almquist v. Nationstar Mortg., LLC, Case No

  14-81178-CIV-RYSKAMP/HOPKINS at *5 (S.D. Fla 2014)(the Court finding that actual

  damages includes photocopying and postage costs, and attorneys’ fees incurred as a result of

  loan servicer’s noncompliance with REPSA); Marais v. Chase Home Finance, LLC, 24

  F.Supp.3d 712 (S.D. Ohio 2014)(the court, on remand, finding that actual damages encompass

  costs incurred in mailing QWR and “all expenses, costs, fees, and injuries” attributable to

  servicer’s failure to appropriately respond to QWR); Cortez v. Keystone Bank, Inc., 2000 WL

  536666, *12 (E.D. Pa. 2000)(the court finding that actual damages encompass compensation for




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  pecuniary loss); Rawlings v. Dovenmuehle Mortg., Inc., 64 F.Supp.2d 1156, 1164 (M.D. Ala.

  1999)(the court finding that actual damages include costs for correspondence and travel).

        62.      Plaintiff is entitled to statutory damages in an amount not greater than $2000

  pursuant to 12 U.S.C. § 2605(f)(1)(B), as a result of BANA’s pattern or practice of

  noncompliance with RESPA.

        63.      Plaintiff's counsel can demonstrate numerous correspondences sent to BANA,

  relating to other clients under the applicable statutes, in which BANA failed to acknowledge or

  adequately respond as required by law.

        64.      Plaintiff is entitled to the costs of this action, together with a reasonable attorney's

  fee as determined by the court, pursuant to 12 U.S.C. § 2605(f)(3).

               COUNT III-VIOLATION OF FCCPA, FLORIDA STATUTES §559.72(9)

       65.       Plaintiff repeats, realleges and incorporates by reference paragraphs 1 through 50.

       66.       Florida Statutes § 559.72(9) states:

                 “In collecting debts, no person shall…
                         (9) Claim, attempt, or threaten to enforce a debt when such person knows
                         that the debt is not legitimate or assert the existence of some other legal
                         right when such person knows that the right does not exist.

  Florida Statutes § 559.72(9).

       67.       The charge of fees and costs to Plaintiffs’ mortgage loan account for force-placed

  insurance is a claim or an attempt to enforce a debt that BANA knows is not legitimate.

       68.       The charge of fees and costs to Plaintiffs’ mortgage loan account for force-placed

  insurance is the assertion of the existence of a legal right that BANA knows does not exist.

       69.       Defendant, through its agents, representatives and/or employees acting within the

  scope of their authority knowingly violated Florida Statutes §559.72(9).

       70.       As a direct and proximate result of the violation of the FCCPA by Defendant,


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   Plaintiff has been damaged. The damages of Plaintiff include but are not necessarily limited to

   mental pain and shock, suffering, aggravation, humiliation and embarrassment.

        71.       Plaintiff has hired Loan Lawyers, LLC, to represent him in this action and has

   agreed to pay a reasonable attorney's fee.

        72.       As a result of the above violations of the FCCPA, pursuant to Florida Statute

   §559.77(2), Plaintiff is entitled to recovery for actual damages, statutory damages of up to $1000

   per violation, together with reasonable attorney’s fees and court costs.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, THOMAS THOMAS, respectfully asks this Court to enter an

   order granting judgment for the following:

      (a) That BANA be required to remove all unlawful fees from HELOC account;

      (b) That BANA be required to close the HELOC account;

      (c) For actual damages, statutory damages, costs, and reasonable attorney’s fees, pursuant to

          15 U.S.C. § 1640(a), 12 U.S.C. § 2605(f), and Florida Statutes § 559.77(2); and

      (d) Such other relief to which this Honorable Court may deem just and proper.




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                               DEMAND FOR JURY TRIAL

        Plaintiff, THOMAS THOMAS, hereby demands a trial by jury of all issues so triable.


                                    Respectfully Submitted,

                                    /s/ Aaron Silvers
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